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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF MARYLAND
                                (GREENBELT DIVISION)

In re:                                    )
                                          )
GOLD AND SILVER AUTO SALES, LLC,          )                   Case No. ___________,
                                          )                   Chapter 11
Debtor.                                   )
__________________________________________)

                                 CORPORATE RESOLUTION

        I, Sotir P. Galabov, declare under penalty of perjury that I am the Managing Member of
Gold and Silver Auto Sales, LLC, a Maryland limited liability company (the “Company”), and
that the following resolution was duly adopted by the Company:

        "Whereas, it is in the best interest of this Company to file a Voluntary Petition for Relief
in the United States Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States
Code;

        Be It Therefore Resolved, that Sotir P. Galabov, the Managing Member of this Company,
is authorized and directed to execute and deliver all documents necessary to perfect the filing of
a Chapter 11 voluntary bankruptcy case on behalf of the Company; and

        Be It Further Resolved, that Sotir P. Galabov, the Managing Member of this Company, is
authorized and directed to appear in all bankruptcy proceedings on behalf of the Company, and
to otherwise do and perform all acts and deeds and to execute and deliver all necessary
documents on behalf of the Company in connection with such bankruptcy case; and

       Be It Further Resolved, that Sotir P. Galabov, the Managing Member of this Company, is
authorized and directed to employ Augustus T. Curtis, and the law firm of Cohen, Baldinger &
Greenfeld, LLC as its attorney to represent the Company in such bankruptcy case.

Executed on: April 28, 2020

                                                       /s/ Sotir P. Galabov                    .
                                                       Sotir P. Galabov
                                                       Managing Member
                                                       Gold and Silver Auto Sales, LLC




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